Case 2:05-cv-02433-.]PI\/|-STA Document 5 Filed 08/02/05 Page 1 of 2 Page|D 1
mBY,__,_ __________o_a

IN THE UNITED sTATEs DISTRICT CoURT FOR THlPs mg `2 AH " ‘ ‘*5
wEsTERN DISTRICT oF TENNESSEE
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WESTERN DIVISION Q_EWD US D!Smm m
W/DOF lN MEMPHE

SMURFIT-STONE CONTAINER CORP., )
)

Plaintiff, ) Case No. 2:05-2433
v. )
)
HART’S MANUFACTURING CO., INC. )
d/b/a HART FURNITURE )
)
Defendants. )

 

ORDER DENYING JUDGMENT BY DEFAULT

 

Plaintiffs, Smurflt-Stone Caontainer Corp. by and through Counsel, submitted motion for
judgment by Default against Defendants Ha.rt’s Manufacturing Co. lnc.As grounds, Plaintiff states
that Defendant(s) has failed to answer / plead to complaint

Entry of Default may be entered when party whom a judgment is sought has failed to plead
or otherwise provided and fact is made to appear by affidavit or otherwise FRCVP 55 (a)

Default Judgment is therefore DENIED as there has been no Ent:ry of Default as to the
Defendant(s).

Entered this 2nd day of August, 2005.

THOMAS M. GOULD

Clerk Court
By @/¢¢ Y!Lq/QM/

Jljeputy Cllerk

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:05-CV-02433 was distributed by faX, mail, or direct printing on
August 2, 2005 to the parties listed.

 

 

Thornas F. Barnett

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

